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UNITED STATES CISTRICT COURT
IN THE UNITED STATES DISTRICT COURTALBUQUERQUE, NEW MEXICO

FOR THE DISTRICT OF NEW MEXICO
AUG 1 g 2019

UNITED STATES OF AMERICA, |
MITCHELL R. ELFERS

Plaintiffs, CLERK
VS. 19-MJ-2214-JFR
HENRY FELIX,

Defendant.

ORDER TOLLING OF SPEEDY TRIAL COMPUTATION

The Court having reviewed the foregoing document, finds the ends of justice
served

by allowing the request to toll the speedy indictment computation outweigh the interest of
the defendant and the public in a speedy indictment. The Court finds that the tolling the
speedy indictment computation will substantially increase the likelihood of the parties

reaching a settlement in this case that would avoid the need for a trial. The Court
expressly

finds that the public’s interest in a speedy indictment is outweighed by the (1) the
public’s

interest in the potential for pre-indictment resolution of this case, which would result in a
quicker resolution of the case and which would spare the judicial, prosecutorial, defense,

and law enforcement resources that would be expended if this case proceeded to trial; and

(2) the potential benefit conferred upon the defendant in an expedited resolution of the
case.
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IT IS THEREFORE ORDERED that a period of time not to exceed 75 days, for a

total of 105 days, is hereby excluded from the computation of a speedy indictment to 18

REE

U.S. C. §3161(b) and (h)(7)(A).

 

 

 
